                Case 1:99-cr-00023-DHB Document 324 Filed 12/15/14 Page 1 of 1
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PROB]5                                                             ReportandOrder           Probation/
R e r .5 i0 l                                                                         Supervised
Release
                                                                          Priorto OriginalExpirationDate

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                                UNITED STATESDISTRICT COURT
                                          FOR THE                                     u0r||
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                                SOUTHERNDISTRICT OF GEORGIA
                                     AUGUSTADIV]SION
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L]NITEDSTATESOF AMERICA

                      V.                                       l:99CR00023-003

GERALDINEKEMP



       On June 15, 2008, the above-namedwas placedon supervisedreleasefor a period ofeight
years. Shehas complied with the rules and regulationsof supervisedreleaseand is no longer in
need of supervision. It is accordingly recommendedthat Geraldine Kemp be dischargedfrom
suoervisedrelease.

                                                 Respectfullysubmitted,




                                                 United StatesProbationOffrcer Specialist


                                       ORDER OF THE COURT

                                                                                  from supervised
                                                                      is discharged
                Pursuantto theabovereport,it is orderedthatthedefendant
releaseand that the proceedingsin the casebe

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                Dated                    ol




                                                 UnitedStatesDistrictJudge
